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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10   DANIEL ASHMAN, et al.,        )              Case No. CV 12-342 DSF (JCx)
                                   )
11                  Plaintiffs,    )
                                   )              JUDGMENT
12   v.                            )
                                   )
13                                 )
                                   )
14   6356095 CANADA, INC.          )
                                   )
15                  Defendants.    )
                                   )
16                                 )
     _____________________________ )
17
18          The Court having previously issued an Order to Show Cause re Dismissal for
19   Lack of Prosecution, and plaintiffs not having timely responded,
20          IT IS ORDERED AND ADJUDGED that the plaintiffs take nothing and that
21   the action be dismissed without prejudice.
22
23
24   Dated: 8/31/12
                                                        DALE S. FISCHER
25                                                    United States District Judge
26
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